20-60321-rbk Doc#224 Filed 10/07/21 Entered 10/07/21 09:53:42 Main Document Pg 1 of
                                         2



                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

  In Re:                                         §
                                                 §              Case No. 20-60321-rbk
  NORTH TEXAS MARINA                             §
  INVESTMENTS, LLC,                              §
                                                 §              Chapter 7
           Debtors.                              §

                             REPORT OF SALE OF ESTATE ASSET

           COMES NOW James Studensky, Trustee (“Trustee”), the duly appointed and acting

  trustee in the above-captioned bankruptcy case, and files this his Report of Sale of Estate Asset (the

  “Report of Sale”).

           1.    The property sold was the Debtor’s real property located in Bosque County, Texas

  (the “Property”) [see Dkt. No. 205].

           2.    The sale (the “Sale”) was conducted in accordance with this Court’s order dated

  September 22, 2021 (the “Order”). The purchaser was Grandoc’s Marina, LLC (“Purchaser”) and

  the price paid by Purchaser in conjunction with the purchase of the Property was $35,000.00.

           3.    The Trustee has received the $35,000.00, which has been deposited into the Estate’s

  bank account. The fully executed special warranty deed transferring the Property to Purchaser has

  been provided to Purchaser.

           WHEREFORE PREMISES CONSIDERED, James Studensky, Chapter 7 Trustee,

  requests that the Court accept this Report of Sale.

                                                 Respectfully submitted,

                                                 By:/s/ James Studensky
                                                        James Studensky, Chapter 7 Trustee




                                                                                              3755570.v1
20-60321-rbk Doc#224 Filed 10/07/21 Entered 10/07/21 09:53:42 Main Document Pg 2 of
                                         2



                                                 GRAVES, DOUGHERTY, HEARON & MOODY, P.C.
                                                 401 Congress Avenue, Suite 2700
                                                 Austin, TX 78701
                                                 Telephone: 512.480.5626
                                                 Facsimile: 512.536.9926
                                                 bcumings@gdhm.com

                                                 By:/s/ Brian T. Cumings
                                                         Brian T. Cumings
                                                         State Bar No. 24082882

                                                 COUNSEL FOR CH. 7 TRUSTEE




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this the 7th day of October, 2021, I electronically filed this Report
  of Sale with the Clerk of Court using the CM/ECF system which will send notification of such
  filing to those receiving electronic service, and service is being made by U.S. First Class Mail as
  reflected below.

  Office of the United States Trustee                    James Studensky, Chapter 7 Trustee
  903 San Jacinto, Room 230                              3912 W. Waco Dr.
  Austin, TX 78701                                       Waco, TX 76710

  North Texas Marina Investments, LLC                    S. Jason Gallini
  112 County Road 1710                                   The Gallini Firm, PLLC
  Cabin 10                                               PO Box 1283
  Clifton, TX 76634                                      Round Rock, TX 78680
  Debtor                                                 Debtors’ Counsel

                                                 By:/s/ Brian T. Cumings
                                                    Brian T. Cumings




                                                    2

                                                                                               3755570.v1
